USDC IN/ND case 1:20-cr-00075-HAB-SLC document 43 filed 10/21/21 page 1 of 1


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )      CAUSE NO.: 1:20-CR-75-HAB
                                                  )
JAQUAN J. BROWN                                   )

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION

       This matter is before the Court on the Findings and Recommendation of the United States

Magistrate Judge [ECF No. 38], filed on October 6, 2021. The Defendant has waived objection to

the Findings and Recommendation.

       The Court being duly advised, ADOPTS the Findings and Recommendation [ECF No. 38]

in its entirety and ACCEPTS the recommended disposition. Subject to this Court’s consideration

of the Plea Agreement pursuant to Federal Rule of Criminal Procedure 11(c), if applicable and

necessary, the plea of guilty to the offense charged in Count 7 of the Indictment is hereby

ACCEPTED, and the Defendant is adjudged GUILTY of the offense.

       The Sentencing Scheduling Order scheduling sentencing-related deadlines and hearings

will be issued by separate order.

       SO ORDERED on October 21, 2021.

                                              s/ Holly A. Brady
                                              JUDGE HOLLY A. BRADY
                                              UNITED STATES DISTRICT COURT
